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                          IN THE UNITED ST ATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


UNITED STATES OF AMERICA,                                     CASE NO. 3:20-CR-40

                       Plaintiff,                             JUDGE WALTER H. RICE

                v.

JAMES PATRICK WILKINSON,

                       Defendant.


                                        AGREED ORDER

        This matter is before the Court on the Government's request for restitution on behalf of a

minor victim portrayed in the "Sweet White Sugar" series of child pornography files and identified

for purposes of this Agreed Order as "Pia."

        The parties agree that 18 U.S.C. § 3663(a)(3) pennits a court to "order restitution in any

criminal case to the extent agreed to by the parties in a plea agreement." Defendant has agreed,

as part of the Plea Agreement, to pay restitution to the victims of any child-exploitation or child-

pornography offenses that became known to the Government during the course ofthe investigation

of the offenses charged in the Information. (See Plea Agreement (Dkt. No. 24) at ,i 7(a)(i).)

        Defendant has admitted to distributing child pornography as part of the Plea Agreement,

and there is no dispute between the parties that one of the child-pornography videos he distributed

depicted the above-identified individual. The parties agree (i) that "Pia" is a victim of a child-

pornography or child-exploitation offense admitted by Defendant and known to the Government

during the course of the investigation of the offenses charged in the Information and (ii) that "Pia"

has been directly and proximately harmed as a result of the commission of such offense.
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        IT IS THEREFORE AGREED by the parties that Defendant James Patrick Wilkinson is

 liable for a portion ofthe total harm/losses suffered by the victim "Pia." Accordingly, Defendant

 James Patrick Wilkinson agrees to pay $3,000.00 as restitution for the victim identified above.

 Defendant's restitution obligation of $3,000.00 is due immediately.   Restitution shall be paid to

 the Clerk of the United States District Court for the Southern District of Ohio, and shall then be

 distributed to the victim' s representative:   Deborah A. Bianco, in trust for "Pia," 2012 164th

 Avenue NE, Bellevue, WA 98008.

        The specific payment details will be set forth in the Judgment and Commitment Order.

                                                       IT IS SO ORDERED.




                                                       JUDGE WALTER H. RICE
                                                       UNITED STATES DISTRICT COURT


 REVIEWED AND AGREED TO BY:

 DAYID M. DEVILLERS
 United States Attorney


 s/George R. Painter
 George Painter (0097271)
 Assistant United States Attorney




~      PIJ~
v. amesPatrick Wilkinson
 Defendant


  s/Thomas Anderson
 Thomas Anderson
 Counsel for Defendant James Patrick Wilkinson



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